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  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  Michael Lashawn Spragling,                       )
                                                   )     CASE NO. 5:07 CV 3098
                 Petitioner-Defendant,             )     (Criminal Case No. 5:06 CR 239)
                                                   )
         v.                                        )     MEMORANDUM OPINION
                                                   )
  United States of America,                        )
                                                   )
                 Respondent-Plaintiff.             )
                                                   )

                                           I. Introduction

         The petitioner, Michael Lashawn Spragling, pled guilty to a series of offenses based on

  the indictment in criminal case number 5:06 CR 239. Thereafter, the defendant filed a notice of

  appeal in the Sixth Circuit and the appeal is pending in case number 07-3078. During the

  pendency of the appeal, the petitioner filed a habeas action which bears the case number in the

  heading of this order.

                                II. Government’s Motion to Dismiss

         Counsel for the government filed a motion to dismiss the present action on October 24,

  2007. (See Docket No. 207.)

         Counsel for the petitioner now contends that extraordinary circumstances are pending in

  this case and cites Capaldi v. Pontesso, 135 F.3d 1122, 1124 (6th Cir. 1998) for the proposition

  that the motion to dismiss should be denied.

                           III. The Timing of the Defendant’s Guilty Plea
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         In the criminal case, the Court impaneled a jury and during the second day of the trial,

  the defendant, represented by retained counsel, abandoned his not guilty plea and entered a plea

  of guilty following a lengthy colloquy between the Court and the defendant. Thereafter, the

  defendant, acting pro se, attempted to have his guilty plea set aside. The Court rejected the

  defendant’s maneuver and sentenced him to a term of 262 months confinement.

                         IV. The Decision in Capaldi v. Pontesso Reviewed

         The Capaldi opinion is cited for the proposition of extraordinary circumstances justifying

  simultaneously a direct appeal and consideration of a habeas action under 28 U.S.C. § 2255.

         In Capaldi, the circuit court did not find the existence of extraordinary circumstances and

  opined in part as follows:

                 In so ruling, however, we note that Capaldi’s direct appeal is
                 apparently pending before the United States Court of Appeals for
                 the Fifth Circuit. For substantially the same reasons expressed by
                 the First Circuit in United States v. Gordon 634 F.2d 638, 638-39
                 (1st Cir. 1980), we now adopt the rule espoused by multiple
                 Circuits that in the absence of extraordinary circumstances, a
                 district court is precluded from considering a § 2255 application
                 for relief during the pendency of the applicant’s direct appeal. See
                 United States v. Davis, 604 F.2d 474, 484 (7th Cir. 1979)
                 (“Ordinarily a section 2255 action is improper during the pendency
                 of an appeal from the conviction.”); Jack v. United States, 435
                 F.2d 317, 318 (9th Cir. 1970) (“Except under the most unusual
                 circumstances, not here present, no defendant in a federal criminal
                 prosecution is entitled to have a direct appeal and a § 2255
                 proceeding considered simultaneously in an effort to overturn the
                 conviction and sentence.”); Welsh v. United States, 404 F.2d 333
                 (5th Cir. 1968) (“A motion to vacate sentence under 28 U.S.C. §
                 2255 will not be entertained during the pendency of a direct
                 appeal, inasmuch as the disposition of the appeal may render the
                 motion moot.”); Masters v. Eide 353 F.2d 517, 518 (8th Cir. 1965)
                 (“Ordinarily resort cannot be had to 28 U.S.C.A. § 2255 or habeas
                 corpus while an appeal from conviction is pending.”). An
                 application under § 2255 is an extraordinary remedy and should
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                 not be considered a substitute for direct appeal. Davis, 604 F.2d at
                 484. Moreover, determination of the direct appeal may render
                 collateral attack by way of a § 2255 application unnecessary. Id. at
                 484-485.

                 Accordingly, the district court’s judgment is affirmed. Rule
                 9(b)(3), Rules of the Sixth Circuit.

                                            V. Conclusion

         The petitioner was represented by retained counsel and entered a plea of guilty during the

  second day of the trial and after devastating testimony against the defendant had already been

  received. As previously indicated, the Court engaged the defendant in a lengthy discussion

  before accepting his pleas of guilty to the four counts. The docket indicates that the transcript of

  the guilty plea is 45 pages in length. Under the foregoing circumstances, the Court finds an

  absence of extraordinary circumstances and consequently, GRANTS the government’s motion to

  dismiss the petition, but without prejudice to a renewal in the event the petitioner’s conviction

  and sentence is affirmed by the Sixth Circuit.



         IT IS SO ORDERED.


   October 30, 2007                               /s/ David D. Dowd, Jr.
  Date                                          David D. Dowd, Jr.
                                                U.S. District Judge
